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                   EXHIBIT I
                 Case 4:23-cv-00609-BJ Document 1-9 Filed 06/15/23                                                                Page 2 of 2 PageID 311




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

 A. NAME & PHONE OF CONTACT AT FILER (optional)
  LESLIE HOFER (314)480-1500
                                                                                                                                               Delaware Department of State
 B. E-MAIL CONTACT AT FILER (optional)
                                                                                                                                                    U.C.C. Filing Section
     LESLIE,HOFER@HUSCl!BLACKWELL,COM
                                                                                                                                                 Filed: 05:42 PM 08/06/2021
 C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                              U.C.C. Initial Filing No: 2021 6224274
   f'iuscH BLAC!ClfELL LLP
     190 CARONDELET PLAZA
                                                                                                    7                                         Service Request No: 20212916081

     SUITE 600

   L       LOUIS, MO 63105
                                                                                                    _J
                                                                                                                      THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only Qllil. Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
   name will not fit in line 1b, leave all of item 1 blank, check here    O and provide the Individual Debtor information in item 10 of !he Financing Statement Addendum (Form UCC1Ad)
     1a. ORGANIZATION'S NAME
     BIGHORN SAND , GRAVEL LLC
OR
     1b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INIT!AL(S)             SUFFIX



1c. MAIUNG ADDRESS                                                                         CITY                                             STATE     IPOSTAL CODE                    COUNTRY
777 MAIN STREET, SUITE 2800                                                                 FORT WORTH                                       TX         76102                          us

2. DEBTOR'S NAME: Provide only Qll!l. Debtor name (2a or 2b) (use exact, full name: do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
   name will not f it in line 2b. leave all of item 2 blank. check here   O and provide the Individual Debtor information in item 10 of the Financing Statement Mdendum (Form UCC1Ad)
     2a. ORGANIZATION'S NAME


OR
     2b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INIT!AL(S)             SUFFIX


2c. MAILING ADDRESS                                                                        CITY                                             STATE     IPOSTAL CODE                    COUNTRY



3 SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) Provide only one Secured Party name (3a or 3b)
     3a. ORGANIZATION'S NAME
     BANCORPSOUTH BANK
OR
     3b. INDIVIDUAL' S SURNAME                                                             FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX



3c. MAILING ADDRESS                                                                        CITY                                             STATE     IPOSTAL CODE                    COUNTRY
 2800 NORTH LOOP WEST, SUITE 1000                                                           HOUSTON                                          TX         77092                          us

4. COLLATERAL: This financing statement covers the following collateral:
 All assets of Debtor, wherever located, and whether now owned or hereafter acquired or arising.




5. Check Q.Ojy If applicable and check filllY. one box: Collateral is   O held in a Trust (see UCC1Ad, item 17 and Instructions) 0 being administered by a Decedent's Personal Representative
6a. Check filllY. if applicable and check QD.[y_ one box:                                                                            6b. Check Q!lli if applicable and check QD.[y_ one box:
     D Public-Finance Transaction             D Manufactured-Home Transaction            0 A Debtor is a Transmitting Utility   0 Agricultural Lien O Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable)'            0 Lessee/Lessor               0 Consignee/Consignor       0 Seller/Buyer   0 Bailee/Bailor     0 Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
 546046-14 (DE SOS)
                                                                                                                     International Association of Olmmercial lldministratoi
FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
